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                                                                                                         Gardner
                                                                              Clerk, U.S. District Court, ILCD
                                                                                        Clerk of the Circuit Court
                                                                                        Vermilion County, Illinois
              IN THE CIRCUIT COURT OF VERMILION COUNTY, ILLINOIS
                                 LAW DIVISION

WATCHFIRE SIGNS, LLC,                         )
                                              )
                Plaintiff,                    )
                                              )                   6
        v.                                    )      No. 2020 L ______
                                              )
CREE, INC.,                                   )
                                              )
                Defendant.                    )

                                          COMPLAINT

        Plaintiff, Watchfire Signs, LLC (“Watchfire”), for its complaint against Defendant, states

as follows:

                                         THE PARTIES

        1.      Plaintiff Watchfire Signs, LLC is a limited liability company organized under the

laws of the State of Delaware, with a principal place of business and manufacturing facility in

Danville, Illinois.

        2.      Plaintiff Watchfire (f/k/a Time-O-Matic, Inc.), was founded in 1932 and has since

become the market and innovation leader in the digital billboard and electronic sign industry in

North America.

        3.      Watchfire is a premium manufacturer of outdoor and indoor digital signs with

vibrant displays, such as scoreboards and other video displays often used for advertising.

Watchfire is known for manufacturing the best light-emitting diode (“LED”) signs with the

industry’s highest quality components.

        See WATCHFIRE SIGNS, https://www.watchfiresigns.com.

        4.      Watchfire has obtained and maintained its superior position and reputation in the

digital sign industry by investing heavily in the research and development, inter alia, of the LED
sign modules that are incorporated into its signs, and which give Watchfire a competitive

advantage.

        5.      Each sign is comprised of hundreds of modules, which in turn are comprised of

thousands of LED bulbs.

        6.      The Watchfire displays at issue are very large and used for outdoor advertising

around the country.

        7.      Defendant Cree, Inc. (“Cree”) is a corporation organized under the laws of the

State of North Carolina with a principal place of business in Durham, North Carolina.

        8.      Cree is a major manufacturer and supplier of LED components used in the

production of large-scale LED screens.

        See CREE LED COMPONENTS, https://www.cree.com/led-components.

                                  JURISDICTION AND VENUE

        9.      This Court has subject matter jurisdiction over this case because there is an actual

and justiciable controversy between Watchfire and Cree.

        10.     Further, the Court has jurisdiction over Defendant because the making and

performance of the contracts at issue are substantially connected with business transacted in

Illinois, promises and contracts were made in substantial relation to the State and tortious acts

complained of were committed in this State. 735 ILCS 5/2-209 (a)(1), (2) and (7).

        11.     Defendant Cree also conducts substantial business generally within the State of

Illinois and is subject to general jurisdiction in the State of Illinois. Id.

        12.     This Court is a proper venue for this case because it is in the county in which the

transaction or some part thereof occurred out of which the cause of action arose and because

defendant is a non-resident and therefore venue is proper in any county. 735 ILCS 5/2-101.



                                                    2
                                            COUNT I

             (BREACH OF WARRANTY - FLEX TERMS AND CONDITIONS)

       13.     From April 2017 through March 2018, Watchfire purchased and used Cree

C4SMA and C4SMC type LED bulbs in the modules created for Watchfire’s high quality

displays.

       14.     Cree’s improper and unworkmanlike manufacturing procedures resulted in

significant failure rates for the C4SMA and C4SMC LEDs, which led to a May 31, 2018

“Goodwill Agreement” between Watchfire and Cree. A true and correct copy of the Goodwill

Agreement is attached as Exhibit A.

       15.     Under the Goodwill Agreement, in exchange for mutual releases of claims

concerning the Cree C4SMA and C4SMC LEDs, Cree extended a $1,100,000.00 credit to

Watchfire to be applied to any outstanding balances between Cree and Watchfire, newest to

oldest. (Ex. A.)

       16.     As a result of Cree’s assurances that its C4SMB line of LEDs would not have the

same problems as the Cree C4SMA and C4SMC LEDs, Watchfire transitioned to using Cree’s

C4SMB LEDs in its displays.

       17.     Watchfire only agreed to continue purchasing LEDs from Cree due to Cree’s

misrepresentations that it had corrected its manufacturing processes, and that the prior defects

would not be a factor with the C4SMB LEDs.

       18.     Most of the modules incorporating the C4SMB LEDs were assembled and

manufactured by Flextronics Manufacturing Mex S.A. (“Flex”), who then sold the completed

modules to its customer, Watchfire.

       19.     In order to manufacture the modules it sold to Watchfire, Flex purchased C4SMB

LED bulbs from Cree.
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        20.    On October 16, 2017, the first shipment of Cree C4SMB LEDs was received by

Flex.

        21.    In mid-November 2017, Flex ramped up production for Watchfire using the

C4SMB LEDs in order to compensate for discontinuation of the C4SMA LEDs, which had

resulted from the excessive failure rates of the C4SMA LEDs.

        22.    In January 2018, Watchfire discovered the first failures in the C4SMB parts used

in the modules manufactured by Flex.

        23.    Watchfire has repeatedly advised Cree of the unacceptable failure rate of the

C4SMB parts, and Cree has not offered or provided any remedy or payment of any kind.

        24.    Prior to this proceeding, Watchfire sought Cree’s payment of Watchfire’s costs

and expenses resulting from Watchfire and Flex’s use of Cree’s defective C4SMB parts.

        25.    Watchfire’s claims remain pending, and Cree has not made any payment, has not

offered any replacement, recall or repair remedy of any kind, and has failed to formally respond.

Cree has been notified of the defects and problems in its C4SMB parts on a continuous basis and

has not offered or extended any suitable remedy at any time.

        26.    The only action taken by Cree to date is the investigation of the failures reported

and observed in the C4SMB parts.

        27.    Cree’s own testing and investigation revealed that the root cause of the failures

was Cree’s improper and unworkmanlike manufacturing procedures in China.

        28.    Cree has not offered any solution or remedy.

        29.    As part of the purchasing process, Cree accepted Flex’s standard terms and

conditions, in which they made warranties to Flex and its customers, including Watchfire.




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       30.        For every purchase of C4SMB parts by Flex, Flex issued a Purchase Order to

Cree containing the Flex Terms and Conditions, a true and correct copy of which is attached as

Exhibit B.

       31.        The Flex Terms are the operative contract between the parties concerning at least

all C4SMB parts Flex purchased and installed into modules for Watchfire to use in its digital

signs. (Ex. B.)

       32.        The Flex Terms expressly cover Flex’s customers, such as Watchfire, as intended

beneficiaries. (Ex. B, ¶¶ 7, 9, 15, 16, 18.)

       33.        The Flex Terms became enforceable between the parties when Cree accepted

Flex’s purchase orders for C4SMB LEDs in October 2017. (Ex. B, ¶ 1.)

       34.        The contract was entered into for good and valuable consideration such that it is a

valid and enforceable contract.

       35.        Under the Flex Terms, Cree specifically made the following warranties to Flex

and Flex’s customers:

                  7. WARRANTIES. Seller warrants to Flex and its customers
                  that it shall perform all Services hereunder in a competent and
                  professional manner in accordance with the terms of this Order,
                  industry accepted standards and all applicable laws and that the
                  Goods shall be free of liens, new and unused, perform in
                  accordance with all applicable specifications, including Seller’s
                  published specifications, and be free from defects in materials,
                  workmanship and design for a period of two (2) years from
                  Flex’ receipt of such Goods. Seller further warrants it has the
                  capability, experience, registrations, licenses, permits, and
                  governmental approvals required to sell the Goods and perform the
                  Services. Seller will perform the Services in a timely, efficient,
                  professional and workmanlike manner in accordance with the
                  applicable Order and to Flex’ satisfaction. Services include all
                  incidental services and tasks necessary to perform the Order and
                  provide acceptable Services. All Services shall be deemed “works
                  made for hire”. To the extent any of the Services are not deemed
                  “works made for hire” by operation of law, Seller hereby
                  irrevocably assigns, transfers and conveys to Flex without further
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               consideration all of its right, title and interest in such Services,
               including any related or accompanying documentation and any
               software or other goods necessary for the provisions of the
               Services, and all rights of patent, copyright, trade secret or other
               proprietary rights in such materials. Seller acknowledges that Flex
               shall have the right to obtain and hold in their own name the
               intellectual property rights in and to such Services and software.
               Without limiting Flex’ right to pursue any applicable remedies,
               Goods not meeting this warranty may in particular be returned to
               Seller for credit or replacement at Seller’s expense, and at Flex’
               option, and Services not meeting this warranty shall be re-
               performed or fees reimbursed, at Flex’ option. Excessive Failure:
               Should Goods shipped in any ninety (90)-day period to Flex or
               should all Goods cumulatively received by Flex experience a
               failure rate of the lesser of any defective-part-per-million
               specified in the Order or more than zero point three per cent
               (0.3% = 3000 DPPM’s) from the same defect or more than zero
               point five percent (0.5% = 5000 DPPM’s) from cumulative
               defects, Seller shall prepare a plan for diagnosing and
               addressing the problem and will be responsible for all costs
               incurred by Flex and its customers in rectifying such failures,
               including, without limitation, for engineering changes, testing
               and field-recovery costs, as well as for all damages.

(Ex. B, ¶ 7) (emphasis added).

       36.     The failure rates for the C4SMB parts drastically exceed the threshold for

Excessive Failure under Section 7 of the Flex Terms. Id.

       37.     These warranties included the warranty that Cree would provide a product that

was free from “Excessive Failure,” which the terms define as “the lesser of any defective-part-

per-million specified in the Order or more than zero point three per cent (0.3% = 3000 DPPM’s)

from the same defect or more than zero point five percent (0.5% = 5000 DPPM’s) from

cumulative defects…” Id.

       38.     Cree was bound by these terms to replace at their cost any goods which failed to

meet that warranty. Id.

       39.     In fact, the C4SMB failure rates were far in excess of what the terms define as

“excessive failure,” which Cree’s own investigation revealed.

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        40.     Cree is further liable under the Flex Terms for all costs incurred by Flex and its

customers in rectifying such failures, including, without limitation, for engineering changes,

testing and field-recovery costs, as well as for all damages.

        41.     Cree has failed to perform under these warranties, and is therefore in breach of its

contract with Flex and Flex’s customers, including Watchfire.

        42.     Thus, Watchfire demands that Cree pay the replacement costs that Watchfire will

incur as a result of the C4SMB failures, punitive damages, and any other damages which the

Court sees fit to assess.

        43.     Watchfire has been damaged as a Flex customer as a result of the failure of the

C4SMB bulbs used by Flex to comply with the warranty.

        44.     In August 2018, Watchfire requested that Cree provide a test plan to qualify these

parts, as well as additional test data to show that the manufacturing process had, in fact, been

improved.

        45.     In October 2018 and January 2019, Watchfire reiterated this request, asking Cree

to fulfill their contractual obligation to “prepare a plan for diagnosing and addressing the

problem” of the failing C4SMB LEDs. (Ex. B, ¶ 7.)

        46.     To date, Cree has not given any data or other means of verifying whether the last

C4SMB LEDs Watchfire or Flex purchased were subject to the faulty manufacturing process, or

whether the manufacturing process has actually been improved since April, 2018.

        47.     Cree breached the Flex Warranty Terms by:

                a.      Failing to manufacture the C4SMB parts in a competent and professional
                        manner in accordance with the specifications for the LEDs, and industry
                        accepted standards;
                b.      Failing to deliver the C4SMB parts in accordance with all applicable
                        specifications, including Seller’s published specifications;
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               c.      Failing to deliver the C4SMB parts free from defects in materials,
                       workmanship and design for a period of two (2) years from Flex’ receipt
                       of such Goods;
               d.      Failing to deliver the C4SMB parts in a professional and workmanlike
                       manner;
               e.      Failing to prepare a plan for diagnosing and addressing the problem
                       created by the Excessive Failure of the C4SMB parts; and
               f.      Refusing to pay or agreeing to be responsible for all costs incurred by
                       Watchfire in rectifying the Excessive Failures of the C4SMB parts,
                       including, without limitation, for engineering changes, testing and field-
                       recovery costs, as well as for all damages.
       48.     As a result of the existing and anticipated failure rate of the C4SMB Parts, all of

the modules incorporating the subject parts must be replaced at Cree’s expense.

       49.     Watchfire has already incurred $1,405,942.30 in replacement and projects a total

replacement cost of $15,602,910.77. Further detail is set forth below and is subject to

modification based upon any future expenses:

C4SMB
Total Flex Purchases (Cree POs) =                                                    $   2,488,320.00
Total Watchfire Purchases (Cree POs)=                                                $      624,960.00
                                                                Flex Module Cost     $   10,948,450.93
                                                           Watchfire Module Cost     $    2,833,007.44
                                                                     Shipping Cost   $      826,052.40
                                                                       Labor Cost    $      995,400.00
Total Flex & Watchfire Module Replacement Exposure =                                 $   15,602,910.77
                                                                                     $
                                                                Flex Module Cost     1,259,038.67
                                                           Watchfire Module Cost     $       20,679.59
                                                                     Shipping Cost   $       70,424.04
                                                                       Labor Cost    $       55,800.00
                                                                                     $
Total Replacement Cost Incurred To Date =                                            1,405,942.30

       WHEREFORE, Watchfire Signs, LLC prays for a judgment: (1) finding that Cree has

breached the Flex Terms; and (2) ordering that Watchfire, as a Flex customer, has been damaged

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in an amount of at least $15,602,910.77, as well as any additional damages which the Court

deems appropriate to assess against Cree.

                                 COUNT II
              (BREACH OF WARRANTY - CREE TERMS AND CONDITIONS)

        50.     Watchfire repeats and realleges the allegations of paragraphs 1 through 49 as if

fully set forth herein.

        51.     Although the Flex terms and conditions are controlling in this dispute, Cree

offered its own terms and conditions (the “Cree terms”) in which they also made warranties to

Watchfire. A true and correct copy of the Cree terms are attached as Exhibit C.

        52.     To the extent the court finds that the Cree terms apply to sales of C4SMB parts by

Cree directly to Watchfire (all rights and defenses reserved), these terms create a valid and

enforceable contract between the parties.

        53.     Watchfire performed all of its obligations to Cree.

        54.     Cree breached the warranties and violated Section 9 of the Cree Terms by failing

to perform its work in a reasonable and workmanlike manner and to comply with the

specifications for the Subject Parts. (Ex. C, ¶ 9.)

        55.     Cree has not taken any action to repair or replace the damaged parts it

manufactured, and any limitation of remedy for the repair or replacement of parts under the Cree

terms therefore causes those terms to fail of their essential purpose, particularly in light of Cree’s

malfeasance and intentional misconduct.

        56.     Cree should be estopped from asserting any limited remedy under the Cree terms

as a result of Cree’s waiver, malfeasance, misrepresentations and fraud in the inducement to

utilize the C4SMB parts.




                                                  9
        57.     Watchfire has been damaged in an amount of at least $15,602,910.77, as well as

any additional damages which the court sees fit to assess against Cree.

        WHEREFORE, Watchfire Signs, LLC prays for a judgment: (1) finding that Cree has

breached the Cree Terms; and (2) ordering that Watchfire has been damaged in an amount of at

least $15,602,910.77, as well as any additional damages which the Court deems appropriate to

assess against Cree.

                                      COUNT III
                               (FRAUDULENT INDUCEMENT)

        58.     Watchfire repeats and realleges the allegations of paragraphs 1 through 57 as if

fully set forth herein.

        59.     Cree knew that it would be unable to perform under the applicable warranties at

the time it sold the defective C4SMB LEDs and misrepresented that Cree would fix its

manufacturing processes, in order to induce Watchfire into buying the defective parts.

        60.     As a result of Cree’s fraudulent inducement and breach of contract, Watchfire has

already incurred more than $1.4M in replacement costs, and expects future replacement costs to

exceed $15.6M.

        61.     To preserve their ongoing business relationship, Cree representatives represented

to Watchfire and Flex that the Cree C4SMB would be a suitable replacement for the C4SMA and

C4SMC and would be free from the manufacturing defects which had plagued the C4SMA and

C4SMC LEDs.

        62.     There are numerous documents created by Cree which identify the Root Cause of

the failure of the C4SMB parts as the “contamination” of the bond pads of the LED chip with die

attach material and the resultant “failure to make good connections with wire bond ball.” Cree’s

own reports go on to state, “The process control monitoring was inadequate to detect a process


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excursion affecting ball bond shear strength. Process variation lead to an insufficient gold ball

bond process. The process control monitoring was inadequate to detect a marginality affecting

ball bond shear strength.”

        63.    Watchfire was induced to switch to the C4SMB parts only as a result of Cree’s

repeated assertions that corrective measures had been taken with respect to the Subject Parts.

        64.    Cree’s own investigation revealed that Cree had not taken the corrective measures

in its manufacturing process in China to solve the manufacturing problems plaguing the Cree

LEDs.

        65.    Cree’s misrepresentations continued as late as April 2018 after defects in the

C4SMB parts were manifest. In order to induce Watchfire to continue to use the Cree parts,

employees, such as Dave Emerson, were making statements to Watchfire that mid-December

2017 would be a “clean point” for the C4SMB parts.

        66.    On April 11, 2018, during another visit to Watchfire, Dave Emerson, a Cree

representative, specifically indicated that the remedial measures needed to prevent wire bond

issues that led to a vast number of C4SMB failures had been implemented in December 2017 and

no C4SMB LEDs manufactured after that point would have these defects.

        67.    On April 23, 2018, however, representatives from Watchfire audited Cree’s

manufacturing facilities in Huzhou, China. During this audit, they observed that the remedial

actions Cree’s representatives had assured Watchfire had been implemented were, in fact, only

implemented for other product lines, and not for the C4SMB LEDs.

        68.    Cree failed to make the improvements in its process control monitoring as

repeatedly represented to Watchfire, which would have helped prevent the excessive failure rates

of the C4SMB LEDs.



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          69.   Cree also failed to convert ovens used in the manufacturing process, as they had

promised they would in February 2018, and which also would have helped prevent the excessive

failure rates of the C4SMB LEDs.

          70.   In short, Cree completely failed to implement the remedies it had promised,

knowing that Watchfire would only continue to use C4SMB LEDs if it made such promises.

          71.   At the same time that it was making these false representations, Cree

implemented these changes for other lines of LEDs, demonstrating that it had the capacity but

not the intention to remedy the C4SMB problem.

          72.   Cree further admitted in its own documents and discussions with Watchfire that

Cree’s manufacturing personnel in China had falsified quality assurance testing records

concerning the C4SMB parts.

          73.   Watchfire and Flex reasonably relied on Cree’s false representations before

agreeing to purchase and to continue to use the C4SMB LEDS.

          74.   But for Cree’s fraudulent inducement, Watchfire and Flex would not have entered

into agreements to purchase the C4SMB LEDs.

          75.   Watchfire has incurred and will continue to incur damages as a result of Cree’s

breach.

          WHEREFORE, Watchfire Signs, LLC prays for a judgment: (1) finding that Cree

fraudulently induced Watchfire to continue purchasing C4SMB LEDs from Cree; (2) ordering

that Watchfire has been damaged in an amount of at least $15,602,910.77; and (3) ordering that

Cree pay punitive damages in an amount to be determined at trial, as well as any additional

damages which the Court deems appropriate to assess against Cree.




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       JURY TRIAL DEMANDED AS TO ALL ISSUES SO TRIABLE

DATED: January 17, 2020                       Respectfully submitted,




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